




NO. 07-06-0311-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



AUGUST 15, 2006

______________________________



PEDRO SANTILLANO,



Appellant



V.



PAT I. MARTIN,



Appellee											_________________________________



FROM THE 285th DISTRICT COURT OF BEXAR COUNTY;



NO. 2004-CI-18165; HONORABLE MARTHA TANNER, JUDGE

_______________________________



MEMORANDUM OPINION

_______________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

Pedro Santillano, appellant, 
appealed from a final judgment of the trial court. &nbsp;We dismiss the appeal.

The clerk’s record was filed with this court on June 26, 2006, and the reporter’s record was filed on June 7, 2006. &nbsp;Appellant’s brief, therefore, was due on July 26, 2006. &nbsp;By letter dated August 2, 2006, we notified appellant that the due date for the brief had passed, that the brief had not been filed and that no motion for extension of time to file the brief had been received by the court. &nbsp;Citing Texas Rule of Appellate Procedure
 
38.8, we also informed appellant that the appeal would be subject to dismissal unless a response reasonably explaining his failure to file a brief was filed by August 14, 2006. &nbsp;To date, appellant has filed neither a response to the court’s August 2nd letter, a brief nor a motion requesting an extension of the lapsed deadline. &nbsp;&nbsp;

Accordingly, we dismiss the appeal for want of prosecution. &nbsp;
Tex. R. App. P. 
38.8(a)(1); 42.3(b).



Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice


